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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

 STATE OF OKLAHOMA, et al.,
                                     Plaintiffs,
                      v.
                                                              Case No: 5:21-cv-01136-F
 JOSEPH R. BIDEN, JR., et al.,
                                     Defendants.


                    PLAINTIFFS’ REPLY IN SUPPORT OF
                  MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs possess the requisite standing to bring this action, and their constitutional

and statutory claims have merit. Plaintiffs also have sued to enjoin the correct vaccine

mandate, a fact that was always obvious and is now shored up further in the Amended

Complaint. Defendants’ arguments to the contrary lack merit.

I.     PLAINTIFFS CHALLENGED                       THE   ORDER       GOVERNING           THE
       NATIONAL GUARD.

       Defendants argue that Plaintiffs have failed to challenge the vaccine mandate

governing the National Guard. See Doc. 37, at 8–11. But that is untrue because the

President’s September 9, 2022, announcement and Executive Order 14043 was the fons et

origo of all the Executive Branch vaccine mandates imposed on the federal workforce,

including military and National Guard members. Given the high stakes, Defendants should

not be allowed to turn this litigation into a shell game.

       Specifically, the impetuses for subjecting National Guard members to this mandate

are EO 14043 and subsequent U.S. Department of Defense policy. Defendants

misleadingly suggest that the vaccine mandate applicable to National Guard members is

attributable to U.S. Department of Defense Instruction (“DoDI”) 6205.02 §§ 1.2(c),
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2.12(b); AR 40-562, §§ 3–2(b), 4–7(b), https://perma.cc/ZU4H-CBA3. But that document

was issued on July 23, 2019 (see Doc. 37, at 8–11)—well before the COVID-19 pandemic.

The real driver for the mandate applicable to National Guard members is that the President

decided he wanted to mandate vaccines on federal employees and Guard members. The

President, therefore, issued EO 14043 to so effectuate. Then executive agencies, including

the U.S. Department of Defense, began implementing rules and instructions to thus enforce

the mandate. Those instructions imposed the vaccine mandate on Guard members, among

others. Defendants’ suggestion to the contrary is an illusion apparently intended to

obfuscate the President’s overarching role in mandating all these vaccinations.

       Out of an abundance of caution, Plaintiffs’ Amended Complaint explicitly

challenges the President’s or the Secretary of Defense’s vaccine mandate imposed on the

National Guard, whether imposed pursuant to EO 14043, 6205.02 §§ 1.2(c), 2.12(b); AR

40-562, §§ 3–2(b), 4–7(b), or both, which is another source of the injury of which Plaintiffs

have complained. See Am. Compl., ¶ 14. Any reference to EO 14043 or other federal action

in Plaintiffs’ Complaint or any other pleading should therefore be construed to include the

President’s or the Secretary of Defense’s vaccine mandate imposed on the National Guard,

whatever the source of authority. Defendants should not be permitted to hide the ball by

conducting a duplicitous pincer movement aimed at defeating an otherwise meritorious

lawsuit.

       Finally, individual Plaintiffs challenge just one aspect of the injury caused by the

vaccine mandate—namely, its impact on the National Guard. See, e.g., Compl., at ¶¶ 9–

13, 24–39. Thus, even if the individual Plaintiffs were dropped from this case, the injury


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suffered by Oklahoma from the vaccination policy imposed on federal employees and

Guard members would still provide ample basis for standing and a preliminary injunction.

II.    ALL THE PLAINTIFFS HAVE STANDING.

       Defendants further argue, see Doc. 37, at 12, that the individual Plaintiffs have not

been properly anonymized and that they have not challenged the correct Executive Branch

action. They also argue that State Plaintiffs lack parens patriae standing to protect the

rights of Oklahomans and that the State has not shown that any injury it would suffer would

be concrete and particularized. See id. at 11–19. All of these arguments likewise lack merit.

       First, as articulated in the previous section, individual Plaintiffs have challenged the

correct Executive Branch action. Even if they had not done so, that has now been rectified

in the Amended Complaint. See Am. Compl., ¶ 14. Moreover, the Motion for Protective

Order filed today would resolve any concerns regarding the preservation of individual

Plaintiffs’ anonymity, as they are currently members of the Oklahoma Air National Guard.

In addition, individual Plaintiffs have suffered concrete and particularized injury because

the vaccine mandate imposed on them would require them either to submit to a forced

vaccination or to lose their jobs if they decline to do so.

       With respect to Defendants’ contention, see Doc. 37 at 12–13, that individual

Plaintiffs have not completely demonstrated the injuries this mandate inflicts on them: the

declarations, statutory evidence, and common sense adduced by Plaintiffs all foreclose that

argument. See Doc. 9 at 5–7; Declarations [Doc. 26–33]. In any event, “[a]t the preliminary

injunction stage, a district court may rely on affidavits and hearsay materials which would

not be admissible evidence for a permanent injunction, if the evidence is ‘appropriate given


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the character and objectives of the injunctive proceeding.’” Levi Strauss & Co. v. Sunrise

Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995) (quoting Asseo v. Pan Am. Grain Co.,

805 F.2d 23, 26 (1st Cir. 1986)). Here, the individual Plaintiffs have provided evidence in

the form of declarations showing that they will be harmed by the vaccine mandate, which

would place them in an impossible position—squarely between the proverbial Scylla and

Charybdis. Cf. BST Holdings v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021) (Plaintiffs

“seeking a stay in this case will also be irreparably harmed in the absence of a stay, whether

by the business and financial effects of a lost or suspended employee.”). That is enough to

establish standing as well as irreparable injury.

       Second, State Plaintiffs have parens patriae standing as well as standing resulting

from their sovereign interests. Oklahoma is “entitled to special solicitude in the standing

analysis” and is entitled “to litigate” cases against the federal government “as parens

patriae to protect quasi-sovereign interests—i.e., public or governmental interests that

concern the state as a whole.” Massachusetts v. EPA, 549 U.S. 497, 520 & n.17 (2007).

Several other federal courts have already recognized the States’ parens patriae or

sovereign-interest standing to challenge federal COVID-19 vaccine mandates. 1 One

decision held that Kentucky has parens patriae standing to challenge the federal contractor

mandate. See Kentucky, 2021 WL 5587446, at *3. Another recognized that “Plaintiff States

have a ‘parens patriae’ standing and/or a quasi-sovereign interest in protecting its citizens



1
 See Missouri v. Biden, No. 4:21-CV-1300, 2021 WL 5998204 (E.D. Mo. Dec. 20, 2021);
Georgia v. Biden, No. 3:21-cv-55, 2021 WL 5779939 (S.D. Ga. Dec. 7, 2021); Kentucky
v. Biden, No. 3:21-cv-00055-GFVT, 2021 WL 5587446 (E.D. Ky. Nov. 30, 2021);
Louisiana v. Becerra, No. 3:21-CV-03970, 2021 WL 5609846 (W.D. La. Nov. 30, 2021).

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from being required to submit to vaccinations.” Louisiana, 2021 WL 5609846, at *5. And

in Missouri, the district court recognized that State Plaintiffs had standing because the

States “ha[d] alleged sufficient injuries to establish standing for their sovereign interest

claims. Each state alleges that the contractor mandate ostensibly preempts state statutes

regarding vaccine mandates.” 2021 WL 5998204, at *3. These holdings squarely rebut the

Defendants’ arguments here.

       Both as a matter of the State’s parens patriae interests and its sovereign interests

generally, the harm visited upon Oklahoma and its residents by the vaccine mandate is the

State’s concrete and particularized concern. Under Massachusetts, this vaccine mandate’s

infliction of harm on individuals in Oklahoma through the violation of their individual

rights under the Constitution and laws injures Oklahoma’s “well-founded desire to preserve

its sovereign territory.” 549 U.S. at 519. As Oklahoma has shown, the forcible vaccination

or job loss facing Oklahoma residents will harm the State residents’ bodily integrity and

morale, the State’s tax base, its security interests, its laws and public policy—including its

right to legislate in the vaccination space—and the State’s other sovereign and territorial

prerogatives. See Doc. 9 at 5–7. Those are all concrete, particularized injuries.

       By attempting to preempt the field through the Supremacy Clause, this vaccine

mandate is blocking Oklahoma from legislating in this arena and, in so doing, from

allowing her residents who happen to be federal employees and Guard members to be free

from the obligation to vaccinate. As the Louisiana court concluded with respect to another

recent federal vaccine mandate, “the Plaintiff States have standing to regulate matters they




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believe they control, to attack preemption of state law by a federal agency, and to protect

the enforcement of state law.” 2021 WL 5609846, at *5. That is also true here.

III.   DEFENDANTS’ ARGUMENTS ON THE MERITS LACK MERIT.

       Defendants have also advanced several arguments challenging Plaintiffs’ position

on the merits. See Doc. 37 at 8–11, 23–40. But each of those arguments is meritless.

       A.      Nothing in Title 10 or Title 32 Authorizes the Executive to Forcibly
               Vaccinate Guard Members.

       Defendants first contend that Congress, by enacting various Title 10 and Title 32

provisions, has enabled the Executive to mandate that Guard members be vaccinated

against COVID-19. See id. at 8–11. But that contention suffers from the same fatal flaw

that plagues the rest of the EO 14043-based mandatory vaccination policies—namely that

Congress never said so, and that an express authorization would have been required.

       Nothing in Titles 10 or 32 permits the President to impose a vaccine mandate on

National Guard members or any federal employees. Under the statute’s plain language, the

President’s and his Department of Defense officials’ authority is to “organize, discipline,

and govern the National Guard,” 32 U.S.C. § 110 (emphasis added), not individual

members of the Guard. That reading is reinforced by court decisions holding that, at least

until a State’s Guard unit is mobilized, the unit and its members remain under the

Governor’s control. See Gilbert v. United States, 165 F.3d 470, 473 (6th Cir. 1999); accord

Ass’n of Civilian Technicians, Inc. v. United States, 603 F.3d 989, 993–94 (D.C. Cir. 2010)

(cleaned up) (“[t]he daily operations of the national guard units are ... recognized generally

to be under the control of the states.”). Thus, the plain text of Section 110 gives the

President no power to issue vaccine mandates on the private person of a Guard member.

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       Certainly, the President’s authority to “organize” the Guard does not confer the right

to mandate vaccination. The Merriam-Webster dictionary defines “organize” as “to form

into a coherent unity or functioning whole;” “to set up an administrative structure for;” or

“to arrange by systematic planning and united effort.” https://www.merriam-

webster.com/dictionary/organize. And the American Heritage defines “organize” as “[t]o

put in order; arrange in an orderly way” or “[t]o cause to have an orderly, functional, or

coherent structure.” https://www.ahdictionary.com/word/search.html?q=organize.          This

authority—in essence, the authority to create a coherent management structure for the

Guard—simply doesn’t extend to personal decisions by individual Guard members about

matters like vaccination.

       Nor does the authority to “discipline” the Guard entail the right to mandate

vaccination, especially of individual Guard members who haven’t been mobilized.

“Discipline” is defined as “to punish or penalize for the sake of enforcing obedience and

perfecting moral character;” “to bring (a group) under control;” or “to impose order upon.”

https://www.merriam-webster.com/dictionary/discipline. The authority to “discipline,”

then, merely includes the authority to enforce compliance with rules that the President

otherwise has authority to impose; it does not itself give the President the authority to

require vaccination of individual Guard members. See Ass’n of Civilian Technicians, 603

F.3d at 993–94; Lipscomb v. Fed. Labor Relations Auth., 333 F.3d 611, 614 (5th Cir. 2003).

       The same is true of the authority to “govern,” defined as “to control, direct, or

strongly influence the actions and conduct of” or “to exert a determining or guiding

influence in or over.” https://www.merriam-webster.com/dictionary/govern. Here again,


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the word “govern” makes sense only as an authority over the Guard as an institution. And

this is confirmed by the principle of noscitur a sociis—especially the placement of the

word “organize” at the beginning of the list of presidential authorities, before “govern.”

Thus the authority to “govern the National Guard” concerns the Guard only as an institution

and does not permit the President to impose vaccine mandates on non-mobilized Guard

members. See Ass’n of Civilian Technicians, 603 F.3d at 993–94 (statute does not permit

the President to control “[t]he daily operations” such as vaccination requirements on non-

mobilized Guard members).

       In short, nothing in any of the dictionary definitions, generally reflective of the

ordinary meaning, permits the Executive to interfere with the bodily integrity of Guard

members, let alone with their core medical decisions like vaccinations. Followed to its

logical consequences, Defendants’ interpretation is boundless and devoid of a limiting

principle. It would allow the Executive to do anything it wants to a Guard member. 2

       The Major Questions Doctrine also supports Plaintiffs’ interpretation of the statutes

on which Defendants rely: Congress has never expressly or directly permitted the



2
  Other provisions in the United States Code likewise provide no support to Defendants’
claimed statutory authority. See Doc. 37, at 8–11. For instance, the authority of the
Secretaries of the Army and Air Force to “prescribe such regulations as the Secretary
considers necessary to carry out provisions of law relating to the reserve components,” 10
U.S.C. § 10202(a), cannot be interpreted to give those Secretaries power beyond the
legitimate functions of the Guard when mobilized. And it does not include the vaccine
mandate. The same is true of the National Guard Bureau’s authority to “[i]ssu[e] directives,
regulations, and publications consistent with approved policies of the Army and Air
Force.” 10 U.S.C. § 10503(11); see also 10 U.S.C. §§ 7013(b)(9), 9013(b)(9), 113(b). Both
of those authorities merely allow the Secretaries to implement other authorities, and
therefore cannot be considered sources of substantive authority over Guard members,
especially those who haven’t been mobilized.

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Executive to impose anything as vast in economic, political, moral, or other significance

as a vaccine mandate on National Guard members or any federal employees. Under this

doctrine, the Supreme Court repeatedly has insisted that courts should refrain from

assuming that Congress implicitly has delegated questions of “‘deep economic and political

significance’” to the Executive Branch. Ala. Ass’n of Realtors v. Dep’t of Health & Hum.

Servs., 141 S. Ct. 2485, 2489 (2021) (quoting Utility Air Regul. Grp. v. EPA, 573 U.S. 302,

324 (2014)). Indeed, a clear and direct statement from Congress is required before the

courts will make that inference. See FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 160 (2000). This is a corollary of the familiar interpretive principle that courts should

not read “a specific concept into general words when [it is clear] that Congress knew how

to identify that concept.” W. Eskridge, Interpreting Law 415 (2016); see also Arlington

Cent. Sch. Dist. Bd. of Ed. v. Murphy, 548 U.S. 291, 297–98 (2006). Here, Congress needed

to have spoken sufficiently clearly to authorize a vaccine mandate—but never did so. As a

consequence, nothing in Titles 10 or 32 or any other statutory provision gives the Executive

the authority to issue a vaccine mandate on National Guard members.

       B.      Plaintiffs Have a Private Right of Action to Claim That the Executive is
               Acting Without Statutory Authority.

       Defendants are also wrong to argue that Plaintiffs are without a private right of

action under the civil service statutes—5 U.S.C. §§ 3301, 3302, and 7301—to lodge those

claims. See Doc. 37 at 23. Plaintiffs are not invoking their own rights under those statutory

provisions; they are arguing that Defendants are without authority under those provisions

to require COVID-19 vaccinations of any federal employees or Guard members.



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       C.     The Vaccine Mandate Violates the Constitution’s Tenth Amendment
              and Other Federalism Provisions.

       Defendants also argue that EO 14043 does not violate the Tenth Amendment and

other federalism provisions in the Constitution because the federal government is just

managing its own employees, which does not affect States. See Doc. 37 at 32–33. However,

when the Guard members are not mobilized under Title 10, they report to the Governor of

their State as their Commander-in-Chief. See Gilbert, 165 F.3d at 473. Therefore, the

sovereignty, laws, and public policy of the States are injured by this mandate. Through this

mandate, the federal government wants to take over the States’ apparatus in violation of

the Tenth Amendment’s anti-commandeering principle, see New York v. United States, 505

U.S. 144, 149 (1992), and other federalism guarantees. 3

                                     CONCLUSION

       The Court should grant a preliminary injunction and halt the government from

forcing Guard members and federal employees to vaccinate on pain of losing their jobs.




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  Defendants also suggest the mandate does not violate the Fourth Amendment because
vaccination is not for the purpose of obtaining information and does not restrain movement.
See Doc. 37 at 35–37. The first contention is pointless (because the goal need not be
obtaining information for a forced vaccination to count as a search) and the second is
erroneous since a vaccination is impossible unless a person’s movement is restrained. See
Torres v. Madrid, 141 S. Ct. 989, 995 (2021) (quoting Terry v. Ohio, 392 U.S. 1, 19 n.16
(1968)) (“the ‘seizure’ of a ‘person’” may “take the form of … a ‘show of authority’ that
‘in some way restrain[s] the liberty’ of the person.”); B.A.B., Jr. v. Board of Educ. of City
of St. Louis, 698 F.3d 1037, 1039–40 (8th Cir. 2012) (treating forcible vaccinations as
“search[es] and seizure[s]” for Fourth Amendment purposes).

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